                   Case 2:19-cv-10774-JAK-MRW Document 1 Filed 12/20/19 Page 1 of 3 Page ID #:1



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                            Los Angeles, CA 90025
                       4 Telephone: 310-909-8000
                            Facsimile:   310-909-8001
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                       6 Attorneys for Defendant
                            TARGET CORPORATION
                       7
                       8                               UNITED STATES DISTRICT COURT
                       9                              CENTRAL DISTRICT OF CALIFORNIA
                     10
                            KARLA URIBE, individually and on behalf of    Case No. ____________________
                     11     others similarly situated,
                                                                          (Honorable ________________,
                     12                  Plaintiff,                       Courtroom “__”)

                     13           vs.                                     DEFENDANT TARGET
                                                                          CORPORATION’S NOTICE OF
                     14 TARGET CORPORATION; and DOES 1-10,                REMOVAL OF CIVIL ACTION
                            and each of them,
                     15
                                         Defendants.                      Removal Filed:     12/20/19
                     16                                                   Motion Cut-Off:    TBA
                                                                          Discovery Cut-Off: TBA
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                                                              NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP                                                              Case No. ____________________
     11601 Wilshire Blvd.
          Suite 800                                                                                1026433\304848545.v1
    Los Angeles, CA 90025
        310-909-8000
                   Case 2:19-cv-10774-JAK-MRW Document 1 Filed 12/20/19 Page 2 of 3 Page ID #:2



                       1        TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD HEREIN:
                       2           PLEASE TAKE NOTICE THAT pursuant to the provisions of 28 U.S.C. sections
                       3    1331, 1367, 1441(a), and 1446, Defendant TARGET CORPORATION (“Target”) hereby
                       4    removes to this Court the state action currently pending in the Los Angeles County
                       5    Superior Court of California, described more fully below:
                       6           1.       On November 20, 2019, a civil action was filed in the Superior Court of
                       7    the State of California, County of Los Angeles, entitled Karla Uribe, individually and on
                       8    behalf of others similarly situated v. Target Corporation, et al., as case number
                       9    19STLC10742. True and correct copies of all pleadings, process, and orders in said action
                    10      are attached hereto as Exhibit A and incorporated herein.
                    11             2.       Target’s registered agent was personally served with a copy of the
                    12      Summons and Complaint on or about November 22, 2019.
                    13             3.       The United States District Court has original jurisdiction over this action
                    14      pursuant to 28 U.S.C. § 1331 because Plaintiff alleges that Target violated the Fair Debt
                    15      Collection Practices Act, 15 U.S.C § 1692, et seq., and the Telephone Consumer
                    16      Protection Act, 47 U.S.C. § 227, et seq., which arise under federal law. (See Cmpl., ¶¶ 21-
                    17      27 (sic)). The United States District Court has supplemental jurisdiction over the
                    18      remaining claims in this action under the provisions of 28 U.S.C. § 1367.
                    19             4.       In light of its pendency in Los Angeles County, the United States District
                    20      Court for the Central District of California is the proper forum for removal under the
                    21      provisions of 28 U.S.C. §§ 84(c) and 1441(a).
                    22             5.       This Notice of Removal is filed within thirty days of service of the
                    23      Complaint upon Target, and is thus timely under 28 U.S.C. § 1446(b).
                    24             6.       Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being
                    25      filed with the Clerk of the Los Angeles County Superior Court and served upon Plaintiff.
                    26             7.       Target makes no admission of liability by this Notice of Removal and
                    27      expressly reserves its right to raise all defenses and objections to Plaintiff’s claims after the
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                                                                 NOTICE OF REMOVAL
HINSHAW & CULBERTSON LLP
     11601 Wilshire Blvd.
                                                                                                Case No. ____________________
          Suite 800                                                                                          1026433\304848545.v1
    Los Angeles, CA 90025
        310-909-8000
                   Case 2:19-cv-10774-JAK-MRW Document 1 Filed 12/20/19 Page 3 of 3 Page ID #:3



                       1    action is removed to the above Court, including, without limitation, any objections to the
                       2    merits and sufficiency of the pleadings asserted by Plaintiff, both individually and on
                       3    behalf of the putative class.
                       4
                       5
                            DATED: December 20, 2019                        Hinshaw & Culbertson LLP
                       6
                       7                                              By: /s/ Ashley M. Brettingen
                                                                          Ashley M. Brettingen
                       8                                                  Attorneys for Defendant
                                                                          TARGET CORPORATION
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        310-909-8000
